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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FAIRHOLME FUNDS, INC., et al.,
Plaintiffs,
v.

FEDERAL HOUSING FINANCE
AGENCY, et al.,

Defendants.

In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

This Order relates to:
ALL CASES

ORDER

Case No. 1:13-cv-1053-RCL

Case No. 1:13-mc-1288-RCL

For the reasons stated in the accompanying Memorandum Opinion:

It is hereby ORDERED that Defendants’ Motion for Denial of Prejudgment Interest for
Fannie Mae Preferred Class and Berkley Plaintiffs is GRANTED in part and DENIED in part.

It is further ORDERED that Plaintiffs’ Cross-Motion for Entry of Judgment with

Prejudgment Interest is GRANTED in part and DENIED in part.

It is further ORDERED that the prejudgment interest in the judgment against the
Defendants shall be determined as simple interest on the damage award of $299.4 million, accruing

from the date August 17, 2012 until the date on which judgment is entered, at a fixed rate of 5%

over the Federal Reserve discount rate as of August 17, 2012.
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It is further ORDERED that within 14 days, the parties shall submit a joint statement
setting forth their calculation of prejudgment interest using the criteria set forth in this Order, along

with a proposed order of final judgment.

IT IS SO ORDERED.

Date: 14 uta,  Ciadk tite

Royce C. Lamberth
United States District Judge

